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IN THE UNITED sTATEs DISTRICT cOURT“" " 65
FOR THE wEsTERN DISTRICT oF 'I‘ENNESWH;‘,&l
wESTERN DIVISION ~ -

 

 

UNITED STATES OF AMERICA
Plaintiff,

criminal NO. 0_‘}‘_- 20'~{20- Ml

'V'.

MCIV¢`n Eoiwa rd,$

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated .by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation cale?§ar, but is now RESET for report at QEQ§ gfzopn~_
a.m. on Fridav, Julv zé¢ 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2005.

  

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So ORDERED this 24th day of June, 2005.

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JON PHIPPS MCCALLA
TED STATES DIS'I`RICT JUDGE

n/) ,_.i
WM

 

 

 

 

 

Counsel for Defendant(s)

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:04-CR-20420 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

